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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                    No. 1:16-CR-00069-11 LJO
12                      Plaintiff,
13          v.                                    ORDER
14   MARKEITH CANADY,
15                      Defendants.
16

17          IT IS HEREBY ORDERED that the indictment in the above-entitled case be dismissed as

18   to MARKEITH CANADY only without prejudice, in light of his having been indicted in a

19   different case for the same charges.

20
     IT IS SO ORDERED.
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22      Dated:     November 28, 2017                  /s/ Lawrence J. O’Neill _____
                                                UNITED STATES CHIEF DISTRICT JUDGE
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